                 IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          ASHEVILLE DIVISION

                        Civil Case No. 1:12cv264-MR
                     [Criminal Case No. 1:06cr13-MR-1]

SHAFEEQ MUHAMMAD,                         )
                                          )
              Petitioner,                 )
                                          )
       v.                                 )     ORDER
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
              Respondent.                 )
                                          )

       THIS MATTER is before the Court on an initial review of Petitioner’s

Motion to Vacate, Set Aside or Correct Sentence, filed pursuant to 28

U.S.C. § 2255 [Doc. 1]. For the reasons that follow, Petitioner’s Section

2255 motion will be dismissed.

I.     BACKGROUND

       On April 30, 2007, Petitioner was convicted of conspiracy to distribute

cocaine base in violation of 21 U.S.C. §§ 846 & 841(b)(1)(A). Petitioner

was sentenced to 190-months’ imprisonment. [1:06cr13, Doc. 57:

Judgment in a Criminal Case at 1-2]. Petitioner filed an appeal to the

United States Court of Appeals for the Fourth Circuit that was later

dismissed on the motion of the Government based on the waiver contained



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in Petitioner’s plea agreement. United States v. Muhammad, No. 07-4457

(4th Cir. filed Dec. 27, 2007) (unpublished).

        On December 1, 2008, Petitioner filed a Section 2255 motion

challenging his criminal judgment raising grounds not relevant to the instant

proceeding. On January 23, 2012, Petitioner’s Section 2255 motion was

denied and dismissed after the Court found that his arguments were

without merit. [1:08cv538, Doc. 24]. Petitioner did not file a direct appeal

from this Order.

        On August 21, 2012, Petitioner filed his second Section 2255 motion

which he has correctly labeled as a “successive” motion under Section

2255. Petitioner contends that that he is entitled to relief based on the

Fourth Circuit’s opinion in United States v. Simmons, 649 F.3d 237 (4th Cir.

2011) (en banc).       Petitioner contends that after Simmons his prior

convictions are no longer properly considered predicate convictions for the

purpose of determining whether he qualifies as a career offender.

Petitioner moves the Court to vacate his sentence and resentence without

consideration of his prior predicate convictions.

II.     DISCUSSION

        The Antiterrorism and Effective Death Penalty Act (AEDPA) provides,

in relevant part, that “[a] second or successive motion [under Section 2255]


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must be certified as provided in Section 2244 by a panel of the appropriate

court of appeals to contain—

      (1) newly discovered evidence that, if proven and viewed in
      light of the evidence as a whole, would be sufficient to establish
      by clear and convincing evidence that no reasonable factfinder
      would have found the movant guilty of the offense; or

      (2) a new rule of constitutional law, made retroactive to cases
      on collateral review by the Supreme Court, that was previously
      unavailable.

28 U.S.C. § 2255(h).

      Petitioner   has   provided   no       evidence   that   he    has   secured

authorization from the Fourth Circuit to file a successive § 2255 motion;

therefore this Court is without jurisdiction to consider the merits of the

present Section 2255 motion, and it will be dismissed.

      Pursuant to Rule 11(a) of the Rules Governing Section 2255 Cases,

the Court declines to issue a certificate of appealability as Petitioner has

not made a substantial showing of a denial of a constitutional right. 28

U.S.C. § 2253(c)(2); Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003) (in

order to satisfy § 2253(c), a petitioner must demonstrate that reasonable

jurists would find the district court’s assessment of the constitutional claims

debatable or wrong); Slack v. McDaniel, 529 U.S. 474, 484 (2000) (holding

that when relief is denied on procedural grounds, a petitioner must

establish both that the correctness of the dispositive procedural ruling is

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debatable, and that the petition states a debatably valid claim of the denial

of a constitutional right).

III.     CONCLUSION

         IT IS, THEREFORE, ORDERED that Petitioner’s Section 2255

Motion [Doc. 1] is DISMISSED as successive.

         IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules

Governing Section 2255 Cases, the Court declines to issue a certificate of

appealability.

         IT IS SO ORDERED.
                                   Signed: December 13, 2012




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